                                                                    ACCO,(Ex),APPEAL,DISCOVERY,MANADR
                           UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
                   CIVIL DOCKET FOR CASE #: 2:17−cv−01941−GW−E

Grant McKee v. Audible, Inc et al                                  Date Filed: 03/10/2017
Assigned to: Judge George H. Wu                                    Jury Demand: Plaintiff
Referred to: Magistrate Judge Charles F. Eick                      Nature of Suit: 890 Other Statutory Actions
Related Case: 2:17−cv−08868−GW−E                                   Jurisdiction: Federal Question
Case in other court: 9th CCA, 18−55595
Cause: 15:1125 Trademark Infringement (Lanham Act)
Plaintiff
Grant McKee                                          represented by Jamin Samuel Soderstrom
Individually and on behalf of all others                            Soderstrom Law PC
similarly situated                                                  3 Park Plaza Suite 100
                                                                    Irvine, CA 92614
                                                                    949−667−4700
                                                                    Email: jamin@soderstromlawfirm.com
                                                                    ATTORNEY TO BE NOTICED

Plaintiff
Seth Beals                                           represented by Jamin Samuel Soderstrom
Individually and on behalf of all others                            (See above for address)
similarly situated                                                  ATTORNEY TO BE NOTICED
TERMINATED: 12/15/2017

Plaintiff
Taylor Fisse                                         represented by Jamin Samuel Soderstrom
individually and on behalf of all others                            (See above for address)
similarly situated                                                  ATTORNEY TO BE NOTICED

Plaintiff
Bryan Rees                                           represented by Jamin Samuel Soderstrom
individually and on behalf of all others                            (See above for address)
similarly situated                                                  ATTORNEY TO BE NOTICED

Plaintiff
Eric Weber                                           represented by Jamin Samuel Soderstrom
individually and on behalf of all others                            (See above for address)
similarly situated                                                  ATTORNEY TO BE NOTICED

Plaintiff
Michael Rogawski                                     represented by Jamin Samuel Soderstrom
individually and on behalf of all others                            (See above for address)
similarly situated                                                  ATTORNEY TO BE NOTICED


V.
                         Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 1 of 13
Defendant
Audible, Inc                                represented by Jedediah Wakefield
                                                           Fenwick and West LLP
                                                           555 California Street 12th Floor
                                                           San Francisco, CA 94104
                                                           415−875−2300
                                                           Fax: 415−281−1350
                                                           Email: jwakefield@fenwick.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Annasara G Purcell
                                                           Fenwick and West LLP
                                                           11911 Second Avenue 10th Floor
                                                           Seattle, WA 98101
                                                           206−389−4510
                                                           Fax: 206−389−4511
                                                           Email: apurcell@fenwick.com
                                                           ATTORNEY TO BE NOTICED

                                                           Armen Nercess Nercessian
                                                           Fenwick and West LLP
                                                           555 California Street
                                                           12th Floor
                                                           San Francisco, CA 94104
                                                           415−875−2300
                                                           Fax: 415−281−1350
                                                           Email: anercessian@fenwick.com
                                                           ATTORNEY TO BE NOTICED

                                                           Matthew B Becker
                                                           Fenwick and West LLP
                                                           555 California Street 12th Floor
                                                           San Francisco, CA 94041
                                                           415−875−2300
                                                           Fax: 415−281−1350
                                                           Email: mbecker@fenwick.com
                                                           ATTORNEY TO BE NOTICED

Defendant
Amazon.Com Inc                              represented by Jedediah Wakefield
TERMINATED: 08/11/2017                                     (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Annasara G Purcell
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Armen Nercess Nercessian
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED


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Date Filed     #    Docket Text

03/10/2017    Ï1    COMPLAINT Receipt No: 0973−19497750 − Fee: $400, filed by plaintiff Grant McKee.
                    (Attachments: # 1 Exhibit CLRA Demand Letter, # 2 Affidavit Venue Affidavit of Grant McKee)
                    (Attorney Jamin Samuel Soderstrom added to party Grant McKee(pty:pla))(Soderstrom, Jamin)
                    (Entered: 03/10/2017)

03/10/2017    Ï2    CIVIL COVER SHEET filed by Plaintiff Grant McKee. (Soderstrom, Jamin) (Entered:
                    03/10/2017)

03/10/2017    Ï3    NOTICE of Interested Parties filed by Plaintiff Grant McKee, identifying individually and on
                    behalf of all others similarly situated. (Soderstrom, Jamin) (Entered: 03/10/2017)

03/10/2017    Ï4    Request for Clerk to Issue Summons on Civil Cover Sheet (CV−71) 2 , Certificate/Notice of
                    Interested Parties 3 , Complaint (Attorney Civil Case Opening), 1 filed by plaintiff Grant McKee.
                    (Soderstrom, Jamin) (Entered: 03/10/2017)

03/10/2017    Ï5    Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed by
                    plaintiff Grant McKee. (Soderstrom, Jamin) (Entered: 03/10/2017)

03/13/2017    Ï6    NOTICE OF ASSIGNMENT to District Judge Fernando M. Olguin and Magistrate Judge Charles
                    F. Eick. (jtil) (Entered: 03/13/2017)

03/13/2017    Ï7    NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (jtil) (Entered:
                    03/13/2017)

03/13/2017    Ï8    21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to Defendant
                    Amazon.Com Inc. (jtil) (Entered: 03/13/2017)

03/13/2017    Ï9    21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to Defendant
                    Audible, Inc. (jtil) (Entered: 03/13/2017)

03/16/2017   Ï 10   PROOF OF SERVICE Executed by Plaintiff Grant McKee, upon Defendant Amazon.Com Inc
                    served on 3/15/2017, answer due 4/5/2017. Service of the Summons and Complaint were executed
                    upon CSC−Becky DeGeorge − Person Authorized to Accept Service of Process in compliance
                    with Federal Rules of Civil Procedure by personal service.Original Summons NOT returned.
                    (Soderstrom, Jamin) (Entered: 03/16/2017)

03/16/2017   Ï 11   PROOF OF SERVICE Executed by Plaintiff Grant McKee, upon Defendant Audible, Inc served
                    on 3/15/2017, answer due 4/5/2017. Service of the Summons and Complaint were executed upon
                    CSC−Becky DeGeorge − Person Authorized to Accept Service of Process in compliance with
                    Federal Rules of Civil Procedure by personal service.Original Summons NOT returned.
                    (Soderstrom, Jamin) (Entered: 03/16/2017)

03/16/2017   Ï 12   TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. All pleadings filed in this
                    matter should contain the case number and the assigned judges' initials to ensure proper routing of
                    documents. The Court refers counsel to the Court's Initial Standing Order found on the Court's
                    Website under Judge Olguin's Procedures and Schedules. Please read this Order carefully.THERE
                    IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (vdr) TEXT ONLY ENTRY
                    (Entered: 03/16/2017)

03/23/2017   Ï 13   ORDER TO REASSIGN CASE due to self−recusal pursuant to General Order 14−03 by Judge
                    Fernando M. Olguin. Case transferred from Judge Fernando M. Olguin to the calendar of Judge
                    George H. Wu for all further proceedings. Case number now reads as 2:17−cv−01941 GW(Ex).
                    (rn) (Entered: 03/23/2017)

04/04/2017   Ï 14   Standing Order Re Final Pre−Trial Conferences for Civil Jury Trials Before Judge George H. Wu
                    by Judge George H. Wu. (mrgo) (Entered: 04/04/2017)
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 3 of 13
04/05/2017   Ï 15   NOTICE of Appearance filed by attorney Jedediah Wakefield on behalf of Defendants
                    Amazon.Com Inc, Audible, Inc (Attorney Jedediah Wakefield added to party Amazon.Com
                    Inc(pty:dft), Attorney Jedediah Wakefield added to party Audible, Inc(pty:dft))(Wakefield,
                    Jedediah) (Entered: 04/05/2017)

04/05/2017   Ï 16   NOTICE of Appearance filed by attorney Annasara G Purcell on behalf of Defendants
                    Amazon.Com Inc, Audible, Inc (Attorney Annasara G Purcell added to party Amazon.Com
                    Inc(pty:dft), Attorney Annasara G Purcell added to party Audible, Inc(pty:dft))(Purcell, Annasara)
                    (Entered: 04/05/2017)

04/05/2017   Ï 17   NOTICE of Appearance filed by attorney Armen Nercess Nercessian on behalf of Defendants
                    Amazon.Com Inc, Audible, Inc (Attorney Armen Nercess Nercessian added to party Amazon.Com
                    Inc(pty:dft), Attorney Armen Nercess Nercessian added to party Audible, Inc(pty:dft))(Nercessian,
                    Armen) (Entered: 04/05/2017)

04/05/2017   Ï 18   NOTICE OF MOTION AND MOTION to Compel Arbitration filed by Defendants Amazon.Com
                    Inc, Audible, Inc. Motion set for hearing on 5/4/2017 at 08:30 AM before Judge George H. Wu.
                    (Attachments: # 1 Declaration of Jason A. Massello in Support of Defendants' Motion to Compel
                    Arbitration and Dismiss Claims, # 2 Exhibit 1 ISO Messello Decl., # 3 Exhibit 2 ISO Messello
                    Decl., # 4 Exhibit 3 ISO Messello Decl., # 5 Exhibit 4 ISO Messello Decl., # 6 Exhibit 5 ISO
                    Messello Decl., # 7 Exhibit 6 ISO Messello Decl., # 8 Exhibit 7 ISO Messello Decl., # 9 Exhibit 8
                    ISO Messello Decl., # 10 Exhibit 9 ISO Messello Decl., # 11 Exhibit 10 ISO Messello Decl., # 12
                    Exhibit 11 ISO Messello Decl., # 13 Exhibit 12 ISO Messello Decl., # 14 Proposed Order Granting
                    Defendants' Motion to Compel Arbitration and Dismiss Claims) (Wakefield, Jedediah) (Entered:
                    04/05/2017)

04/05/2017   Ï 19   CERTIFICATE of Interested Parties filed by Defendant Amazon.Com Inc, (Wakefield, Jedediah)
                    (Entered: 04/05/2017)

04/05/2017   Ï 20   CERTIFICATE of Interested Parties filed by Defendant Audible, Inc, identifying
                    Parent−Amazon.com, Inc.. (Wakefield, Jedediah) (Entered: 04/05/2017)

04/13/2017   Ï 21   MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Compel
                    Arbitration 18 Opposition and Declarations filed by Plaintiff Grant McKee. (Attachments: # 1
                    Declaration Declaration of Grant McKee, # 2 Declaration Declaration of Jamin S. Soderstrom, # 3
                    Exhibit Exhibit 1a, # 4 Exhibit Exhibit 1b, # 5 Exhibit Exhibit 2, # 6 Exhibit Exhibit 3, # 7 Exhibit
                    Exhibit 4, # 8 Exhibit Exhibit 5, # 9 Exhibit Exhibit 6, # 10 Exhibit Exhibit 7, # 11 Exhibit Exhibit
                    8, # 12 Exhibit Exhibit 9, # 13 Exhibit Exhibit 10, # 14 Exhibit Exhibit 11, # 15 Exhibit Exhibit
                    12, # 16 Exhibit Exhibit 13, # 17 Exhibit Exhibit 14, # 18 Exhibit Exhibit 15, # 19 Exhibit Exhibit
                    16, # 20 Exhibit Exhibit 17, # 21 Exhibit Exhibit 18, # 22 Proposed Order Proposed Order, # 23
                    Affidavit Certificate of Service Efile)(Soderstrom, Jamin) (Entered: 04/13/2017)

04/20/2017   Ï 22   REPLY in support of NOTICE OF MOTION AND MOTION to Compel Arbitration 18 and
                    Dismiss Claims filed by Defendants Amazon.Com Inc, Audible, Inc. (Attachments: # 1
                    Declaration Reply Declaration of Jason A. Massello in Support of Defendants' Motion to Compel
                    Arbitration and Dismiss Claims, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                    Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7)(Wakefield, Jedediah) (Entered: 04/20/2017)

04/24/2017   Ï 23   SUPPLEMENT to NOTICE OF MOTION AND MOTION to Compel Arbitration 18 filed by
                    Plaintiff Grant McKee. (Soderstrom, Jamin) (Entered: 04/24/2017)

04/25/2017   Ï 24   NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                    Supplement(Motion related) 23 . The following error(s) was found: Title page is missing. In
                    response to this notice the court may order (1) an amended or correct document to be filed (2) the
                    document stricken or (3) take other action as the court deems appropriate. You need not take any
                    action in response to this notice unless and until the court directs you to do so. (shb) (Entered:
                    04/26/2017)
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05/04/2017   Ï 25   MINUTES OF DEFENDANTS' MOTION TO COMPEL ARBITRATION AND DISMISS
                    CLAIMS 18 held before Judge George H. Wu: The Court's Tentative Ruling is circulated and
                    attached hereto. Court hears oral argument. For reasons stated on the record, Defendants motion is
                    continued to June 22, 2017 at 8:30 a.m. Simultaneoussupplemental briefs will be filed by May 31,
                    2017 and will not exceed 15 pages. Simultaneous responses will be filed by June 14, 2017 and will
                    not exceed 10 pages. Court Reporter: Katie Thibodeaux. (cr) (Entered: 05/05/2017)

05/17/2017   Ï 26   Joint STIPULATION to Reschedule Hearing Date filed by Defendants Amazon.Com Inc, Audible,
                    Inc. (Attachments: # 1 Proposed Order)(Wakefield, Jedediah) (Entered: 05/17/2017)

05/22/2017   Ï 27   ORDER GRANTING SUPPLEMENTAL BRIEFING SCHEDULE RE DEFENDANTS'MOTION
                    TO COMPEL ARBITRATION AND DISMISS CLAIMS 26 by Judge George H. Wu. The Court
                    ORDERS as follows: The Parties shall file their opening supplemental briefs on or before June 21,
                    2017. The Parties shall file their supplemental response briefs on or before July 5, 2017. The
                    hearing on Defendants' Motion shall be set for July 13, 2017, at 8:30 a.m. (lom) (Entered:
                    05/22/2017)

06/08/2017   Ï 28   TRANSCRIPT ORDER as to Defendant Amazon.Com Inc, Audible, Inc for Court Reporter. Court
                    will contact Dorothy Walls−Stewart at dwalls−stewart@fenwick.com with any questions regarding
                    this order. Transcript preparation will not begin until payment has been satisfied with the court
                    reporter. (Wakefield, Jedediah) (Entered: 06/08/2017)

06/21/2017   Ï 29   SUPPLEMENT BRIEF filed by Plaintiff Grant McKee. (Attachments: # 1 Declaration of Jamin S.
                    Soderstrom in Support of Plaintiff's Opposition to Defendant's Motion to Compel Arbitration and
                    Dismiss Claims, # 2 Exhibit 1 ISO Soderstrom Declaration, # 3 Exhibit 2 ISO Soderstrom
                    Declaration, # 4 Exhibit 3 ISO Soderstrom Declaration, # 5 Exhibit 4 ISO Soderstrom Declaration,
                    # 6 Declaration of Plaintiff Grant McKee in Support of his Opposition to Defendant's Motion to
                    Compel Arbitration and Dismiss Claims)(Soderstrom, Jamin) (Entered: 06/21/2017)

06/21/2017   Ï 30   SUPPLEMENT to NOTICE OF MOTION AND MOTION to Compel Arbitration 18
                    Supplemental Brief ISO Motion to Compel Arbitration filed by Defendants Amazon.Com Inc,
                    Audible, Inc. (Attachments: # 1 Declaration Jason A. Massello, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                    Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, #
                    11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15,
                    # 17 Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19)(Wakefield, Jedediah) (Entered:
                    06/21/2017)

06/21/2017   Ï 31   NOTICE of Manual Filing filed by Defendants Amazon.Com Inc, Audible, Inc of Exhibit 5 to
                    Supplemental Declaration of Jason A. Massello. (Attachments: # 1 Proof of Service)(Wakefield,
                    Jedediah) (Entered: 06/21/2017)

07/05/2017   Ï 32   SUPPLEMENT RESPONSE BRIEF IN SUPPORT OF PLAINTIFF'S OPPOSITION TO
                    DEFENDANTS' MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS filed by Plaintiff
                    Grant McKee. (Attachments: # 1 Declaration of Plaintiff, Grant Mckee)(Soderstrom, Jamin)
                    (Entered: 07/05/2017)

07/05/2017   Ï 33   SUPPLEMENT Defendants' Response ISO Defendants' Motion to Compel Arbitration and Dismiss
                    Claims filed by Defendants Amazon.Com Inc, Audible, Inc. (Attachments: # 1 Declaration Further
                    Supplemental Declaration of Jason A. Massello ISO Defendants' Motion to Compel Arbitration
                    and Dismiss Claims, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7
                    Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Declaration Declaration of Karen
                    Ressmeyer ISO Defendants' Motion to Compel Arbitration and Dismiss Claims, # 12 Exhibit 1, #
                    13 Exhibit 2)(Wakefield, Jedediah) (Entered: 07/05/2017)

07/10/2017   Ï 34   NOTICE RE: COLOR SLIP COPY OF APPLEBAUM V. LYFT, INC. re: Supplement(Motion
                    related), 32 (Attachments: # 1 Exhibit 1)(Soderstrom, Jamin) (Entered: 07/10/2017)

                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 5 of 13
07/13/2017   Ï 35   MINUTES OF MOTION HEARING − DEFENDANTS' MOTION TO COMPEL
                    ARBITRATION AND DISMISS CLAIMS held before Judge George H. Wu. The Court's
                    Tentative Ruling is circulated and attached hereto. Court hears oral argument. For reasons stated
                    on the record, Defendants' motion 18 is TAKEN UNDER SUBMISSION. Court to issue ruling.
                    The Court sets a scheduling conference for July 31, 2017 at 8:30 a.m. Parties will file a joint
                    proposed scheduling report by noon on July 26, 2017. Court Reporter: Katie Thibodeaux. (smo)
                    (Entered: 07/14/2017)

07/14/2017   Ï 36   TRANSCRIPT ORDER as to Defendants Amazon.Com Inc, Audible, Inc for Court Reporter.
                    Court will contact Fay Kelley at fkelley@fenwick.com with any questions regarding this order.
                    Transcript preparation will not begin until payment has been satisfied with the court reporter.
                    (Purcell, Annasara) (Entered: 07/14/2017)

07/17/2017   Ï 37   MINUTES (IN CHAMBERS) − FINAL RULING ON DEFENDANTS' MOTION TO COMPEL
                    ARBITRATION AND DISMISS CLAIMS by Judge George H. Wu re: 18 MOTION to Compel
                    Arbitration. For the reasons stated above, the Court DENIES Audible's Motion to Compel
                    Arbitration, but GRANTS Amazon's Motion to Compel Arbitration. (See document for specifics)
                    (mrgo) (Entered: 07/17/2017)

07/26/2017   Ï 38   JOINT PROPOSED SCHEDULING REPORT FOR JULY 31, 2017 SCHEDULING HEARING
                    filed by Plaintiff Grant McKee (Soderstrom, Jamin) (Entered: 07/26/2017)

07/31/2017   Ï 39   MINUTES OF SCHEDULING CONFERENCE held before Judge George H. Wu: The case is
                    called. Counsel make their appearances. The Court and counsel confer. For reasons stated on the
                    record the Court sets the following dates: First Amended Complaint to be filed on or before
                    August 11, 2017. Motions to Dismiss August 25, 2017; Opposition September 8, 2017; Reply
                    September 21, 2017; Hearing on the Motion October 2, 2017 at 8:30 a.m.; Motion for Class
                    Certification to filed by February 15, 2018; Hearing on the Motion February 26, 2018 at 8:30 a.m.
                    Court Reporter: Katie Thibodeaux. (bm) (Entered: 08/01/2017)

08/11/2017   Ï 40   FIRST AMENDED COMPLAINT against DEFENDANT Audible, Inc amending Complaint
                    (Attorney Civil Case Opening), 1 , filed by Plaintiff Grant McKee (Attachments: # 1 Exhibit A, #
                    2 Exhibit B, # 3 Exhibit C)(Soderstrom, Jamin) (Entered: 08/11/2017)

08/25/2017   Ï 41   NOTICE OF MOTION AND MOTION to Compel Arbitration filed by Defendant Audible, Inc.
                    Motion set for hearing on 10/2/2017 at 08:30 AM before Judge George H. Wu. (Attachments: # 1
                    Declaration of Jason A. Massello in Support of Audible's Motion to Dismiss and Motion to
                    Compel Arbitration as to Seth Beals, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                    Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8) (Wakefield, Jedediah) (Entered: 08/25/2017)

08/25/2017   Ï 42   NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant Audible, Inc. Motion
                    set for hearing on 10/2/2017 at 08:30 AM before Judge George H. Wu. (Attachments: # 1
                    Declaration Jason A. Massello in Support of Audible's Motion to Dismiss and Motion to Compel
                    Arbitration as to Seth Beals, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit
                    5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8) (Wakefield, Jedediah) (Entered: 08/25/2017)

09/08/2017   Ï 43   OPPOSITION re: NOTICE OF MOTION AND MOTION to Dismiss Case 42 filed by Plaintiffs
                    Seth Beals, Grant McKee. (Attachments: # 1 Declaration of Grant McKee ISO Plaintiffs'
                    Opposition to Audible's Motion to Dismiss)(Soderstrom, Jamin) (Entered: 09/08/2017)

09/08/2017   Ï 44   OPPOSITION re: NOTICE OF MOTION AND MOTION to Compel Arbitration 41 filed by
                    Plaintiff Seth Beals. (Attachments: # 1 Declaration of Jamin S. Soderstrom ISO Plaintiff Seth
                    Beals' Opposition to Motion to Compel Arbitration and to Dismiss Claims, # 2 Exhibit 1 ISO
                    Soderstrom Declaration, # 3 Exhibit 2 ISO Soderstrom Declaration, # 4 Exhibit 3 ISO Soderstrom
                    Declaration, # 5 Exhibit 4 ISO Soderstrom Declaration, # 6 Exhibit 5 ISO Soderstrom Declaration,
                    # 7 Exhibit 6 ISO Soderstrom Declaration, # 8 Declaration of Seth Beals ISO Plaintiffs' Opposition
                    to Audible's Motion to Compel Arbitration and to Dismiss Claims)(Soderstrom, Jamin) (Entered:
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 6 of 13
                    09/08/2017)

09/21/2017   Ï 45   RESPONSE IN SUPPORT of NOTICE OF MOTION AND MOTION to Dismiss Case 42 filed by
                    Defendant Audible, Inc. (Wakefield, Jedediah) (Entered: 09/21/2017)

09/21/2017   Ï 46   RESPONSE IN SUPPORT of NOTICE OF MOTION AND MOTION to Compel Arbitration 41
                    and Dismiss Claims as to Plaintiff Seth Beals filed by Defendant Audible, Inc. (Attachments: # 1
                    Declaration of Jason A. Massello, # 2 Exhibit A, # 3 Declaration of Tarek Abonil, # 4 Exhibit A, #
                    5 Exhibit B, # 6 Declaration of Jedediah Wakefield, # 7 Exhibit A)(Wakefield, Jedediah) (Entered:
                    09/21/2017)

09/22/2017   Ï 47   OBJECTIONS to Response in Support of Motion, 46 filed by Plaintiff Seth Beals. (Soderstrom,
                    Jamin) (Entered: 09/22/2017)

09/22/2017   Ï 48   RESPONSE IN SUPPORT of NOTICE OF MOTION AND MOTION to Compel Arbitration 41
                    Concerning Plaintiff's Objection to Reply In Support of Motion to Compel Arbitration and Dismiss
                    Claims as to Seth Beals filed by Defendant Audible, Inc. (Wakefield, Jedediah) (Entered:
                    09/22/2017)

09/28/2017   Ï 49   TEXT ONLY ENTRY − IN CHAMBERS: by Judge George H. Wu: The Court, on its own
                    motion, CONTINUES DEFENDANT AUDIBLES MOTION TO COMPEL ARBITRATION
                    AND DISMISS CLAIMS AS TO SETH BEALS 41 and DEFENDANT AUDIBLES MOTION
                    TO DISMISS CLAIMS 42 previously scheduled for 10/02/2017 to 10/5/2017 at 08:30 AM before
                    Judge George H. Wu. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                    (jag) TEXT ONLY ENTRY (Entered: 09/28/2017)

10/05/2017   Ï 50   MINUTES OF DEFENDANT AUDIBLE'S MOTION TO COMPEL ARBITRATION AND
                    DISMISS CLAIMS AS TO SETH BEALS 41 Hearing held before Judge George H. Wu. For
                    reasons stated on the record, Defendant's Motion is continued to October 26, 2017 at 8:30 a.m.
                    Parties will file a joint status report that will include any discovery issues and motions to be filed
                    by October 24, 2017. Defendant Audible's Motion to Dismiss Claims 42 is continued to October
                    26, 2017 at 8:30 a.m. Court Reporter: Katie Thibodeaux. (lom) (Entered: 10/06/2017)

10/23/2017   Ï 51   NOTICE CONCERNING NINTH CIRCUITS DECISION IN DAVIDSON V.
                    KIMBERLY−CLARK CORP. ET AL. filed by Plaintiffs Seth Beals, Grant McKee. (Attachments:
                    # 1 Exhibit 1 Ninth Circuit's Decision in Davidson v. Kimberly−Clark Corp. et al.)(Soderstrom,
                    Jamin) (Entered: 10/23/2017)

10/24/2017   Ï 52   JOINT STATUS REPORT filed by Plaintiffs Seth Beals, Grant McKee (Soderstrom, Jamin)
                    (Entered: 10/24/2017)

10/26/2017   Ï 53   MINUTES OF DEFENDANT AUDIBLE'S MOTION TO COMPEL ARBITRATION AND
                    DISMISS CLAIMS AS TO SETH BEALS 41 ; DEFENDANT AUDIBLES MOTION TO
                    DISMISS CLAIMS 42 held before Judge George H. Wu: The Courts Tentative Rulings are
                    circulated and attached hereto. Court hears oral argument. For reasons stated on the record,
                    Defendants Motions are TAKEN UNDER SUBMISSION. Court to issue ruling. Court Reporter:
                    Katie Thibodeaux. (cr) (Entered: 10/27/2017)

10/30/2017   Ï 54   TRANSCRIPT ORDER as to Defendant Audible, Inc for Court Reporter. Court will contact
                    Valerie Schmitt at vschmitt@fenwick.com with further instructions regarding this order. Transcript
                    preparation will not begin until payment has been satisfied with the court reporter. (Nercessian,
                    Armen) (Entered: 10/30/2017)

11/02/2017   Ï 55   NOTICE of Motion to Transfer Venue as to Plaintiff Seth Beals' Gift Membership Claims filed by
                    Defendant Audible, Inc. (Attachments: # 1 Declaration of Jason A. Massello, # 2 Exhibit A to
                    Declaration of Jason A. Massello, # 3 Proposed Order)(Wakefield, Jedediah) (Entered:
                    11/02/2017)

                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 7 of 13
11/03/2017   Ï 56   NOTICE OF MOTION AND MOTION to Transfer Case to Southern District of New York as to
                    Plaintiff Seth Beals' Gift Membership Claims filed by Defendant Audible, Inc. Motion set for
                    hearing on 12/4/2017 at 08:30 AM before Judge George H. Wu. (Attachments: # 1 Declaration of
                    Jason A. Massello, # 2 Exhibit A to Declaration of Jason A. Massello, # 3 Proposed Order)
                    (Wakefield, Jedediah) (Entered: 11/03/2017)

11/09/2017   Ï 57   OPPOSITION re: NOTICE OF MOTION AND MOTION to Transfer Case to Southern District of
                    New York as to Plaintiff Seth Beals' Gift Membership Claims 56 filed by Plaintiff Seth Beals.
                    (Attachments: # 1 Declaration of Jamin Soderstrom ISO Plaintiff's Opposition to Audible's Motion
                    to Transfer Venue, # 2 Exhibit 1 ISO Soderstrom Declaration)(Soderstrom, Jamin) (Entered:
                    11/09/2017)

11/16/2017   Ï 58   RESPONSE IN SUPPORT of NOTICE OF MOTION AND MOTION to Transfer Case to
                    Southern District of New York as to Plaintiff Seth Beals' Gift Membership Claims 56 filed by
                    Defendant Audible, Inc. (Wakefield, Jedediah) (Entered: 11/16/2017)

12/04/2017   Ï 59   NOTICE Joint Statement of Open Issues filed by Defendant Audible, Inc. and Plaintiffs
                    (Wakefield, Jedediah) (Entered: 12/04/2017)

12/04/2017   Ï 60   MINUTES OF AUDIBLE'S MOTION TO TRANSFER VENUE AS TO PLAINTIFF SETH
                    BEAL'S GIFT MEMBERSHIP CLAIM 56 held before Judge George H. Wu: The case is called.
                    Counsel make their appearances. The Court and counsel confer. The TENTATIVE ruling is
                    circulated and attached hereto. The parties are to file a joint report by 2:00 pm today and send a
                    copy to the clerk The Court continues the Motion to December 7, 2017 at 8:30 a.m. The parties
                    may appear telephonically. Court Reporter: Katie Thibodeaux. (cr) (Entered: 12/06/2017)

12/06/2017   Ï 61   MINUTES IN CHAMBERS: RULING ON DEFENDANT AUDIBLE'S MOTION TO COMPEL
                    ARBITRATION AND DISMISS CLAIMS AS TO SETH BEALS 41 ; DEFENDANT
                    AUDIBLE'S MOTION TO DISMISS CLAIMS 42 by Judge George H. Wu. Upon further
                    consideration, the Court adopts its October 26, 2017 Tentative Ruling (Docket No. 53 ) as its final
                    decision on the pending motions (Docket No. 41 and 42 ). (lom) (Entered: 12/06/2017)

12/07/2017   Ï 62   MINUTES OF TELEPHONIC HEARING RE AUDIBLE'S MOTION TO TRANSFER VENUE
                    AS TO PLAINTIFF SETH BEALS' GIFT MEMBERSHIP CLAIMS 56 Hearing held before
                    Judge George H. Wu. Court and counsel confer. Defendant's Motion to Transfer Venue is
                    GRANTED to the Southern District of New York. Counsel will file an order for partial transfer
                    forthwith. Plaintiff will have until December 15, 2017 to file a Second Amended Complaint. A
                    status conference is set for January 22, 2018 at 8:30 a.m. Court Reporter: Katie Thibodeaux. (lom)
                    (Entered: 12/08/2017)

12/08/2017   Ï 63   NOTICE OF LODGING filed re Order on Motion to Transfer Case,,, Motion Hearing,,, Set/Reset
                    Deadlines/Hearings,, 62 (Attachments: # 1 Proposed Order Partially Transferring Claims of
                    Plaintiff Seth Beals to the Southern District of New York)(Wakefield, Jedediah) (Entered:
                    12/08/2017)

12/12/2017   Ï 64   ORDER PARTIALLY TRANSFERRING CLAIMS OF PLAINTIFF SETH BEALS TO THE
                    SOUTHERN DISTRICT OF NEW YORK by Judge George H. Wu, re Order on Motion to
                    Transfer Case, Motion Hearing, 62 . On December 8, 2017, the Court Granted Defendant Audible's
                    Motion to Transfer Venue as to Plaintiff Seth Beals's Gift Membership Claims. See Docket No. 62
                    (Minute Entry Granting Audible's Motion). Pursuant to that Order, and for the reasons stated in the
                    Court's Tentative Ruling on Defendant's Motion to Transfer Venue as to Beals's Gift Membership
                    Claims (Docket No. 60), all of Plaintiff Seth Bealss claims arising from or relating to his gift
                    membership are hereby TRANSFERRED to the United States District Court for the Southern
                    District of New York. [Case transferred electronically on 12/13/2017]. (mrgo) (Entered:
                    12/13/2017)

12/15/2017   Ï 65
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 8 of 13
                    SECOND AMENDED COMPLAINT against DEFENDANT Audible, Inc amending Amended
                    Complaint/Petition 40 , filed by Plaintiffs Grant McKee (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B)(Soderstrom, Jamin) (Entered: 12/15/2017)

12/15/2017   Ï 67   TEXT−ONLY ENTRY − RECEIVED Notice of Receipt of Electronic Case Transfer from
                    Southern District of New York, 1:17−cv−09838 filed 12/15/2017. (lom) (Entered: 12/21/2017)

12/19/2017   Ï 66   TRANSCRIPT ORDER as to Defendant, Audible, Inc. Audible, Inc for Court Reporter. Court will
                    contact Fay Kelley at fkelley@fenwick.com with further instructions regarding this order.
                    Transcript preparation will not begin until payment has been satisfied with the court reporter.
                    (Purcell, Annasara) (Entered: 12/19/2017)

12/26/2017   Ï 68   STIPULATION to Reschedule Case Deadlines Related to Second Amended Complaint filed by
                    Defendant Audible, Inc. (Attachments: # 1 Proposed Order)(Wakefield, Jedediah) (Entered:
                    12/26/2017)

01/04/2018   Ï 69   ORDER GRANTING STIPULATION SETTING CASE DEADLINES RELATED TO SECOND
                    AMENDEDCOMPLAINT by Judge George H. Wu. (Refer to order for further details) (yl)
                    (Entered: 01/05/2018)

01/22/2018   Ï 70   NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction as to Plaintiffs Taylor
                    Fisse and Bryan Rees filed by Defendant Audible, Inc. Motion set for hearing on 3/12/2018 at
                    08:30 AM before Judge George H. Wu. (Attachments: # 1 Declaration of Jason A. Massello, # 2
                    Proposed Order) (Wakefield, Jedediah) (Entered: 01/22/2018)

01/22/2018   Ï 71   NOTICE OF MOTION AND MOTION to Dismiss Second Amended Complaint as to Plaintiff
                    Grant McKee filed by Defendant Audible, Inc. Motion set for hearing on 3/12/2018 at 08:30 AM
                    before Judge George H. Wu. (Attachments: # 1 Proposed Order) (Wakefield, Jedediah) (Entered:
                    01/22/2018)

01/22/2018   Ï 72   NOTICE of Motion and Motion for Corrective Action filed by Plaintiffs Taylor Fisse, Michael
                    Rogawski, Eric Weber. (Attachments: # 1 Memorandum of Points and Authorities in Support of
                    Their Motion for Corrective Action, # 2 Declaration of Jamin S. Soderstrom ISO Plaintiffs' Motion
                    for Corrective Action, # 3 Exhibit 1 ISO Soderstrom Delcaration, # 4 Exhibit 2 ISO Soderstrom
                    Declaration, # 5 Exhibit 3 ISO Soderstrom Declaration, # 6 Exhibit 4 ISO Soderstrom Declaration,
                    # 7 Exhibit 5 ISO Soderstrom Declaration, # 8 Exhibit 6 ISO Soderstrom Declaration, # 9 Exhibit
                    7 ISO Soderstrom Declaration, # 10 Exhibit 8 ISO Soderstrom Declaration, # 11 Exhibit 9 ISO
                    Soderstrom Declaration, # 12 Declaration of Taylor Fisse ISO Plaintiffs' Motion for Corrective
                    Action, # 13 Declaration Eric Weber ISO Plaintiffs' Motion for Corrective Action, # 14
                    Declaration of Michael Rogawski ISO Plaintiffs' Motion for Corrective Action, # 15 Proposed
                    Order)(Soderstrom, Jamin) (Entered: 01/22/2018)

01/22/2018   Ï 73   NOTICE OF MOTION AND MOTION to Compel Arbitration filed by Defendant Audible, Inc.
                    Motion set for hearing on 3/12/2018 at 08:30 AM before Judge George H. Wu. (Attachments: # 1
                    Declaration of Aniket Gune, # 2 Exhibit One to Gune Declaration, # 3 Exhibit Two to Gune
                    Declaration, # 4 Exhibit Three to Gune Declaration, # 5 Exhibit Four to Gune Declaration, # 6
                    Exhibit Five to Gune Declaration, # 7 Declaration Six to Gune Declaration, # 8 Exhibit Seven to
                    Gune Declaration, # 9 Exhibit Eight to Gune Declaration, # 10 Exhibit Nine to Gune Declaration,
                    # 11 Exhibit Ten to Gune Declaration, # 12 Exhibit Eleven to Gune Declaration, # 13 Exhibit
                    Twelve to Gune Declaration, # 14 Exhibit Thirteen to Gune Declaration, # 15 Exhibit Fourteen to
                    Gune Declaration, # 16 Declaration of Karen Ressmeyer, # 17 Exhibit One to Ressmeyer
                    Declaration, # 18 Exhibit Two to Ressmeyer Declaration, # 19 Exhibit Three to Ressmeyer
                    Declaration, # 20 Exhibit Four to Ressmeyer Declaration, # 21 Exhibit Five to Ressmeyer
                    Declaration, # 22 Proposed Order) (Wakefield, Jedediah) (Entered: 01/22/2018)

01/23/2018   Ï 74   NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice (Other),
                    72 . The following error(s) was/were found: Incorrect event selected. Correct event to be used is:
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 9 of 13
                    Motions > Amend/Correct or Order. In response to this notice, the Court may: (1) order an
                    amended or correct document to be filed; (2) order the document stricken; or (3) take other action
                    as the Court deems appropriate. You need not take any action in response to this notice unless and
                    until the Court directs you to do so. (mrgo) (Entered: 01/23/2018)

02/12/2018   Ï 75   OPPOSITION In Opposition to re: NOTICE OF MOTION AND MOTION to Dismiss Second
                    Amended Complaint as to Plaintiff Grant McKee 71 filed by Plaintiff Grant McKee. (Soderstrom,
                    Jamin) (Entered: 02/12/2018)

02/12/2018   Ï 76   OPPOSITION In Opposition to re: NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                    Jurisdiction as to Plaintiffs Taylor Fisse and Bryan Rees 70 filed by Plaintiffs Taylor Fisse, Bryan
                    Rees. (Attachments: # 1 Declaration of Jamin S. Soderstrom ISO Plainttifs Fisse and Rees's
                    Opposition, # 2 Exhibit 1 ISO Soderstrom Declaration, # 3 Exhibit 2 ISO Soderstrom Declaration,
                    # 4 Exhibit 3 ISO Soderstrom Declaration, # 5 Exhibit 4 ISO Soderstrom Declaration)(Attorney
                    Jamin Samuel Soderstrom added to party Taylor Fisse(pty:pla), Attorney Jamin Samuel
                    Soderstrom added to party Bryan Rees(pty:pla))(Soderstrom, Jamin) (Entered: 02/12/2018)

02/12/2018   Ï 77   OPPOSITION In Opposition to re: NOTICE OF MOTION AND MOTION to Compel Arbitration
                    73 filed by Plaintiffs Michael Rogawski, Eric Weber. (Attachments: # 1 Declaration of Jamin S.
                    Soderstrom ISO Plaintiffs Weber and Rogawski's Opposition, # 2 Declaration of Eric Weber ISO
                    Opposition, # 3 Exhibit 1 ISO Weber Declaration, # 4 Declaration of Michael Rogawski ISO
                    Opposition, # 5 Exhibit 1 ISO Rogawski Declaration)(Attorney Jamin Samuel Soderstrom added
                    to party Michael Rogawski(pty:pla), Attorney Jamin Samuel Soderstrom added to party Eric
                    Weber(pty:pla))(Soderstrom, Jamin) (Entered: 02/12/2018)

02/12/2018   Ï 78   MEMORANDUM in Opposition to Plaintiffs' Motion for Corrective Action (Dkt. 72) filed by
                    Defendant Audible, Inc. (Attachments: # 1 Declaration of Jason A. Massello in Support of
                    Audible's Opposition to Plaintiffs' Motion for Corrective Action)(Wakefield, Jedediah) (Entered:
                    02/12/2018)

02/26/2018   Ï 79   REPLY in support of NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction
                    as to Plaintiffs Taylor Fisse and Bryan Rees 70 filed by Defendant Audible, Inc. (Wakefield,
                    Jedediah) (Entered: 02/26/2018)

02/26/2018   Ï 80   REPLY filed by Plaintiffs Taylor Fisse, Grant McKee, Bryan Rees, Michael Rogawski, Eric
                    Weber to Notice (Other),,,, 72 (Soderstrom, Jamin) (Entered: 02/26/2018)

02/26/2018   Ï 81   REPLY in support of NOTICE OF MOTION AND MOTION to Dismiss Second Amended
                    Complaint as to Plaintiff Grant McKee 71 filed by Defendant Audible, Inc. (Wakefield, Jedediah)
                    (Entered: 02/26/2018)

02/26/2018   Ï 82   REPLY in support of NOTICE OF MOTION AND MOTION to Compel Arbitration 73 as to
                    Plaintiffs Eric Weber and Michael Rogawski filed by Defendant Audible, Inc. (Attachments: # 1
                    Declaration of Aniket Gune, # 2 Exhibit 1 to Gune Reply Declaration, # 3 Exhibit 2 to Gune Reply
                    Declaration, # 4 Declaration of Karen Ressmeyer, # 5 Exhibit 1 to Ressmeyer Reply Declaration, #
                    6 Exhibit 2 to Ressmeyer Reply Declaration, # 7 Exhibit 3 to Ressmeyer Reply Declaration, # 8
                    Exhibit 4 to Ressmeyer Reply Declaration, # 9 Exhibit 5 to Ressmeyer Reply Declaration, # 10
                    Exhibit 6 to Ressmeyer Reply Declaration, # 11 Exhibit 7 to Ressmeyer Reply Declaration, # 12
                    Exhibit 8 to Ressmeyer Reply Declaration, # 13 Exhibit 9 to Ressmeyer Reply Declaration, # 14
                    Exhibit 10 to Ressmeyer Reply Declaration)(Wakefield, Jedediah) (Entered: 02/26/2018)

03/09/2018   Ï 84   TRANSCRIPT for proceedings held on 2/20/18, 11:08 a.m.. Court Reporter/Electronic Court
                    Recorder: BABYKIN COURTHOUSE SERVICES, phone number (626) 963−0566. Transcript
                    may be viewed at the court public terminal or purchased through the Court Reporter/Electronic
                    Court Recorder before the deadline for Release of Transcript Restriction. After that date it may be
                    obtained through PACER. Notice of Intent to Redact due within 7 days of this date. Redaction
                    Request due 3/30/2018. Redacted Transcript Deadline set for 4/9/2018. Release of Transcript
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 10 of 13
                    Restriction set for 6/7/2018. (ls) (Entered: 03/12/2018)

03/09/2018   Ï 85   NOTICE OF FILING TRANSCRIPT filed for proceedings 2/20/18, 11:08 re Transcript 84
                    THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY
                    ENTRY (Entered: 03/12/2018)

03/12/2018   Ï 83   TRANSCRIPT ORDER as to Defendant Audible, Inc for Court Reporter. Court will contact
                    Dorothy Walls−Stewart at dwalls−stewart@fenwick.com with further instructions regarding this
                    order. Transcript preparation will not begin until payment has been satisfied with the court
                    reporter. (Wakefield, Jedediah) (Entered: 03/12/2018)

03/12/2018   Ï 87   MINUTES OF AUDIBLE'S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                    AS TO PLAINTIFFS TAYLOR FISSE AND BRYAN REES FOR LACK OF PERSONAL
                    JURISDICTION 70 ; AUDIBLE'S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                    AS TO PLAINTIFF GRANT MCKEE 71 ; PLAINTIFFS' MOTION FOR CORRECTIVE
                    ACTION 72 ; AUDIBLE'S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
                    AS TO PLAINTIFFS ERIC WEBER AND MICHAEL ROGAWSKI 73 Motion Hearing held
                    before Judge George H. Wu. For reasons stated on the record, the above−entitled motions are
                    continued to April 2, 2018 at 8:30 a.m. Counsel may stipulate to sur−replies by March 22, 2018.
                    Court Reporter: Phyllis Preston. (mrgo) (Entered: 03/13/2018)

03/13/2018   Ï 86   NOTICE OF CLERICAL ERROR: Due to clerical error Re: Transcript (CV),, 84 . FILED IN
                    INCORRECT CASE. (ls) (Entered: 03/13/2018)

03/16/2018   Ï 88   TRANSCRIPT for proceedings held on 3/12/18. Court Reporter: Phyllis Preston, email:
                    stenojag@aol.com. Transcript may be viewed at the court public terminal or purchased through the
                    Court Reporter before the deadline for Release of Transcript Restriction. After that date it may be
                    obtained through PACER. Notice of Intent to Redact due within 7 days of this date. Redaction
                    Request due 4/6/2018. Redacted Transcript Deadline set for 4/16/2018. Release of Transcript
                    Restriction set for 6/14/2018. (Preston, Phyllis) (Entered: 03/16/2018)

03/16/2018   Ï 89   NOTICE OF FILING TRANSCRIPT filed for proceedings 3/12/18 re Transcript 88 THERE IS
                    NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Preston, Phyllis) TEXT ONLY
                    ENTRY (Entered: 03/16/2018)

03/22/2018   Ï 90   SURREPLY IN OPPOSITION TO re NOTICE OF MOTION AND MOTION to Compel
                    Arbitration 73 filed by Plaintiffs Michael Rogawski, Eric Weber. (Attachments: # 1 Declaration of
                    Eric Weber ISO Surreply, # 2 Exhibit 1 ISO Weber Declaration, # 3 Declaration of Jamin S.
                    Soderstrom ISO Surreply, # 4 Exhibit 1 ISO Soderstrom Declaration, # 5 Exhibit 2 ISO
                    Soderstrom Declaration, # 6 Exhibit 3 ISO Soderstrom Declaration, # 7 Exhibit 4 ISO Soderstrom
                    Declaration, # 8 Exhibit 5 ISO Soderstrom Declaration, # 9 Exhibit 6 ISO Soderstrom Declaration,
                    # 10 Exhibit 7 ISO Soderstrom Declaration)(Soderstrom, Jamin) (Entered: 03/22/2018)

04/02/2018   Ï 91   TRANSCRIPT ORDER as to Defendant Audible, Inc for Court Reporter. Court will contact
                    Dorothy Walls−Stewart at dwalls−stewart@fenwick.com with further instructions regarding this
                    order. Transcript preparation will not begin until payment has been satisfied with the court
                    reporter. (Wakefield, Jedediah) (Entered: 04/02/2018)

04/02/2018   Ï 92   NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Transcript Order
                    Form (G−120), 91 . The following error(s) was found: DATE OF 4/09/18 IS A FUTURE DATE.
                    EITHER RE−FILE YOUR G−120 AFTER 4/09/18, OR REFER TO MINUTE ORDER(s) ON
                    THE DOCKET AND RE−FILE WITH THE CORRECT DATE. You must electronically refile the
                    above referenced Request for Transcript in this case to correct this deficiency. THERE IS NO PDF
                    DOCUMENT ASSOCIATED WITH THIS ENTRY. (ls) TEXT ONLY ENTRY (Entered:
                    04/02/2018)

04/02/2018   Ï 94
                    Case 5:18-cv-00211-D Document 112 Filed 05/14/18 Page 11 of 13
                     MINUTES OF AUDIBLE'S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                     AS TO PLAINTIFFS TAYLOR FISSE AND BRYAN REES FOR LACK OF PERSONAL
                     JURISDICTION 70 ; AUDIBLE'S MOTION TO DISMISS SECOND AMENDED COMPLAINT
                     AS TO PLAINTIFF GRANT MCKEE 71 ; PLAINTIFFS' MOTION FOR CORRECTIVE
                     ACTION 72 ; AUDIBLE'S MOTION TO COMPEL ARBITRATION AND DISMISS CLAIMS
                     AS TO PLAINTIFFS ERIC WEBER AND MICHAEL ROGAWSKI 73 Hearing held before
                     Judge George H. Wu. For reasons stated on the record, the above−entitled motions are TAKEN
                     UNDER SUBMISSION. Counsel are to provide the Court with proposed language to be included
                     in the final ruling. Order to issue. Court Reporter: Katie Thibodeaux. (mrgo) (Entered: 04/04/2018)

04/03/2018    Ï 93   TRANSCRIPT ORDER as to Defendant Audible, Inc for Court Reporter. Court will contact
                     Dorothy Walls−Stewart at dwalls−stewart@fenwick.com with further instructions regarding this
                     order. Transcript preparation will not begin until payment has been satisfied with the court
                     reporter. (Wakefield, Jedediah) (Entered: 04/03/2018)

04/04/2018    Ï 95   TRANSCRIPT for proceedings held on 4/2/18 9:03 am. Court Reporter/Electronic Court
                     Recorder: Katie Thibodeaux, CSR, RPR, CRR, phone number www.katiethibodeaux.com.
                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Electronic Court Recorder before the deadline for Release of Transcript Restriction. After
                     that date it may be obtained through PACER. Notice of Intent to Redact due within 7 days of this
                     date. Redaction Request due 4/25/2018. Redacted Transcript Deadline set for 5/7/2018. Release of
                     Transcript Restriction set for 7/3/2018. (Thibodeaux, Katie) (Entered: 04/04/2018)

04/04/2018    Ï 96   NOTICE OF FILING TRANSCRIPT filed for proceedings 4/2/18 9:03 am re Transcript 95
                     THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Thibodeaux, Katie)
                     TEXT ONLY ENTRY (Entered: 04/04/2018)

04/06/2018    Ï 97   MINUTES (IN CHAMBERS) by Judge George H. Wu: RULING ON PLAINTIFFS MOTION
                     FORCORRECTIVE ACTION 72 ; and AUDIBLES MOTION TO COMPEL ARBITRATION
                     AND DISMISS CLAIMS AS TO PLAINTIFFS ERIC WEBER AND MICHAEL ROGAWSKI 73
                     .Attached hereto is the Courts Ruling on the above−entitled Motions. The Court would
                     GRANT−in−partand DENY−in−part Plaintiffs Motion for Corrective Action. The Court would
                     GRANT Audibles Motion to Compel Arbitration as to Plaintiff Ragowski (subject to the
                     evidentiary issues) but DENY Audibles MTC as to Plaintiff Weber. The Court sets a status
                     conference for April 19, 2018 at 8:30 a.m., with a joint report re proposed dates to be filed by April
                     16, 2018. (lc) (Entered: 04/06/2018)

04/16/2018    Ï 98   JOINT REPORT Rule 26(f) Discovery Plan filed by Plaintiffs Taylor Fisse, Grant McKee, Bryan
                     Rees, Michael Rogawski, Eric Weber.. (Soderstrom, Jamin) (Entered: 04/16/2018)

04/19/2018    Ï 99   MINUTES OF STATUS CONFERENCE held before Judge George H. Wu. The Court sets a
                     hearing on Plaintiff's motion for class certification for December 3, 2018 at 8:30 a.m. Parties may
                     stipulate to the briefing schedule, except the reply, which will be filed by November 19, 2018.
                     Initial disclosures will be due by May 21, 2018 and discovery is open for all purposes. Court
                     Reporter: Katie Thibodeaux. (mrgo) (Entered: 04/20/2018)

04/19/2018   Ï 100   AMENDED MINUTES held before Judge George H. Wu re: 99 . The Court sets a hearing on
                     Defendants anticipated motion to dismiss concerning Plaintiff EricWebers claims for July 23, 2018
                     at 8:30 a.m. The parties may stipulate to the briefing schedule, except the reply, which will be filed
                     by July 9, 2018.The Court clarified the intent of its ruling concerning Plaintiffs motion for
                     corrective action, and Plaintiffs counsel is instructed to prepare and submit an appropriate order.
                     Defendants counsel is instructed to prepare an order transferring Taylor Fisses and Bryan Reess
                     claims to the EasternDistrict of North Carolina, consistent with the Courts prior ruling on
                     Defendants Motion to Dismiss for Lack of Personal Jurisdiction. Docket 87; Docket 97 at 3. (jag)
                     (Entered: 04/24/2018)


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04/25/2018   Ï 101   TRANSCRIPT ORDER as to Plaintiffs Grant McKee for Court Reporter. Court will contact Diana
                     Alderete at diana@soderstromlawfirm.com with further instructions regarding this order.
                     Transcript preparation will not begin until payment has been satisfied with the court reporter.
                     (Soderstrom, Jamin) (Entered: 04/25/2018)

04/26/2018   Ï 102   NOTICE of Appearance filed by attorney Matthew B Becker on behalf of Defendant Audible, Inc
                     (Attorney Matthew B Becker added to party Audible, Inc(pty:dft))(Becker, Matthew) (Entered:
                     04/26/2018)

04/30/2018   Ï 103   TRANSCRIPT ORDER as to Defendants Amazon.Com Inc, Audible, Inc for Court Reporter.
                     Court will contact Fay Kelley at fkelley@fenwick.com with further instructions regarding this
                     order. Transcript preparation will not begin until payment has been satisfied with the court
                     reporter. (Becker, Matthew) (Entered: 04/30/2018)

05/02/2018   Ï 104   NOTICE OF LODGING filed re Notice (Other),,,, 72 , Order on Motion to Compel Arbitration,,
                     97 (Attachments: # 1 Proposed Order)(Soderstrom, Jamin) (Entered: 05/02/2018)

05/03/2018   Ï 105   NOTICE AUDIBLE'S OBJECTIONS TO PROPOSED ORDER AND NOTICE OF
                     ALTERNATIVE [PROPOSED] ORDER GRANTING CORRECTIVE ACTION UNDER
                     FEDERAL RULE OF CIVIL PROCEDURE 23(D) filed by Defendant Audible, Inc.
                     (Attachments: # 1 Proposed Order)(Becker, Matthew) (Entered: 05/03/2018)

05/03/2018   Ï 106   RESPONSE filed by Plaintiffs Taylor Fisse, Grant McKee, Bryan Rees, Michael Rogawski, Eric
                     Weberto Notice (Other), 105 to Audible's Objections to Proposed Order and Notice of Alternative
                     [Proposed] Order Granting Corrective Action Under Federal Rule of Civil Procedure 23(D)
                     (Soderstrom, Jamin) (Entered: 05/03/2018)

05/03/2018   Ï 107   NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Defendant Audible, Inc.
                     Appeal of Order on Motion to Compel Arbitration,, 97 . (Appeal Fee − $505 Fee Paid, Receipt No.
                     0973−21697650.) (Attachments: # 1 Representation Statement)(Wakefield, Jedediah) (Entered:
                     05/03/2018)

05/03/2018   Ï 108   NOTICE OF LODGING filed by Defendant Audible, Inc. of [Proposed] Order Partially
                     Transferring Claims of Plaintiffs Taylor Fisse and Bryan Rees to the Eastern District of North
                     Carolina re Motion Hearing,,, Set/Reset Motion Hearing and R&R Deadlines,, 87 (Attachments: #
                     1 Proposed Order Partially Transferring Claims of Plaintiffs Taylor Fisse and Bryan Rees to the
                     Eastern District of North Carolina)(Becker, Matthew) (Entered: 05/03/2018)

05/04/2018   Ï 109   NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and briefing
                     schedule. Appeal Docket No. 18−55595 assigned to Notice of Appeal to 9th Circuit Court of
                     Appeals, 107 as to defendant Audible, Inc. (mrgo) (Entered: 05/07/2018)

05/10/2018   Ï 110   MINUTE ORDER IN CHAMBERS by Judge George H. Wu: Attached hereto is the Courts Ruling
                     on the Proposed Order re Motion for Corrective Action. (jag) (Entered: 05/10/2018)

05/10/2018   Ï 111   ORDER PARTIALLY TRANSFERRING CLAIMS OF PLAINTIFFS TAYLOR FISSE AND
                     BRYAN REES TO THE EASTERN DISTRICT OF NORTH CAROLINA by Judge George H.
                     Wu. For the reasons stated in the Court's Tentative Ruling on Defendant's Motion to Dismiss (Dkt.
                     No. 87 ), and consistent with the parties' stipulation preserving venue and jurisdictional defenses,
                     the claims ofPlaintiffs Taylor Fisse and Bryan Rees are hereby TRANSFERRED to the United
                     States District Court for the Eastern District of North Carolina. IT IS SO ORDERED. (lom)
                     (Entered: 05/11/2018)




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